                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                       Charlotte Division


 UNITED STATES OF AMERICA

                         v.
                                                        Criminal Action Number 3:93CR124
                                                        Civil Action Number 3:00CV198
 DONALD RAY BARBER,

                                        Defendant.


                                            ORDER

       The Clerk is DIRECTED to REASSIGN this matter, including any pending motions, to a

judge in the Charlotte Division.

       It is so ORDERED.

       Let the Clerk send a copy of this Order to all counsel of record and the defendant.




June 25, 2007                  /s/ Richard L. Williams
DATE                          RICHARD L. WILLIAMS
                              SENIOR UNITED STATES DISTRICT JUDGE




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